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                                                  December 20, 2023

            Via ECF
            The Honorable Loretta A. Preska
            District Court Judge
            United States District Court
            Southern District of New York
            500 Pearl Street
            New York, NY 10007

                                                  Re: Giuffre v. Maxwell,
                                                    Case No. 15-cv-7433-LAP

            Dear Judge Preska:

                   I represent Doe 107 in the above captioned case and ask the Court to
            extend the time, as established in its endorsement of October 27, 2023
            (discussed below), for my client and I to submit supplemental materials in
            support of continued sealing, should the Court still be considering whether to
            unseal files as to Doe 107, who is not mentioned in the Court’s Order of
            December 18, 2023 (Doc. 1315). We had not previously submitted those
            materials because I was not previously attorney of record in the district court
            and therefore was not on the ECF service list, and therefore did not receive the
            Court’s endorsement of October 27 (Doc. 1314). I apologize for any
            inconvenience this causes the Court.

                  On October 26, 2023, a joint letter was submitted to the Court (Doc.
            1313) stating:

                        The Parties, the Miami Herald, and Doe 107 write in response to
                        the Court’s August 24, 2023, order. ECF No. 1306. Based on
                        counsel's representations concerning Doe 107's safety in her
                        current country, the Parties and the Miami Herald consent to
                        redacting Doe 107's name and any personally identifying
                        information in the docket entries that the Court previously
                        ordered unsealed. Giuffre's and the Miami Herald's consent to
                        such redactions is based on circumstances specific to Doe 107 and
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                  does not extend to other purported victims living in countries
                  without the same risks of physical harm.

                  The Parties therefore respectfully request the Court’s permission
                  to maintain the redactions to Doe 107 's name and personally
                  identifying information.

                  The Parties therefore respectfully request the Court’s permission
                  to maintain the redactions to Doe 107 's name and personally
                  identifying information.

         See Doc. 1313. On October 27, 2023, the Court entered the following
         endorsement:

                  Doe 107 shall, by November 22, 2023, submit to the Court for in
                  camera review an affidavit supporting her assertion that she
                  faces a risk of physical harm in her country of residence and
                  providing detail concerning the hate mail she received. Doe 107's
                  counsel may provide additional factual support for Doe 107's
                  contention that unsealing the relevant records would put her at
                  risk of physical harm by November 22, 2023 as well.

         See Doc. 1314. On December 18, 2023, the Court issued the following docket
         entry:

                  The Court reiterates here its previous recitation of the applicable
                  law and descriptions of the unsealing process set out in the
                  transcripts dated January 19, 2021 (dkt. no. 1196), July 1, 2021
                  (dkt. no. 1220), April 19, 2022 (dkt. no. 1254), and November 18,
                  2022 (dkt. no. 1283). The following are the Courts findings as to
                  the Does designated following its particularized review of the
                  documents noted: as set forth herein. The Court stays its order
                  for fourteen days to permit any impacted Doe the opportunity to
                  appeal, after which counsel are asked to confer, prepare the
                  documents for unsealing pursuant to this order, and post the
                  documents on the docket.

         See DE 12/18/2023.

               The accompanying 51-page Order (Doc. 1315) does not mention Doe 107
         and therefore does not authorize unsealing as to Doe 107. It may be the Court
         had determined to not order unsealing as to Doe 107 but that is not clear, and
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         as an officer of the court, I felt the need to acknowledge that I had not filed the
         supplemental materials addressed in the Court’s October 27 endorsement.

                Unfortunately, neither the aforementioned endorsement of October 27,
         nor the Court’s Order of December 18 were sent to the undersigned because I
         had not been counsel of record in the district court, and therefore I was not on
         the list of ECF recipients. I just learned of the endorsement and Order today,
         having been sent a news article regarding the Court’s Order. As Doe 107 has
         previously stated, she lives outside the United States in a culturally
         conservative country and lives in fear of her name being released. I therefore
         respectfully ask the Court to clarify whether its omission of Doe 107 from the
         Court’s Order of December 18 (Doc. 1315) means the Court has now endorsed
         the parties’ consent letter of October 26 (Doc. 1313) or whether it intends to
         further consider whether to Order unsealing relating to Doe 107. If the latter,
         I respectfully request 30 days to make additional submissions.

                  Thank you for considering this request.

                                           Respectfully submitted,




                                           Richard Levitt

         RWL:rl



Doe 107's request for a 30-day extension is approved. Doe 107 shall,
by January 22, 2024, submit to the Court for in camera review an
affidavit (1) supporting her assertion that she faces a risk of
physical harm in her country of residence and (2) providing detail
concerning the hate mail she has received.      Doe 107's counsel may
also provide by this date any additional factual support for Doe 107's
contention that unsealing the relevant records would put her at risk of
physical harm.

SO ORDERED.

Date:         12/21/2023
              New York, New York
                                                   ___________________________________
                                                   Loretta A. Preska
                                                   Senior United States District Judge
